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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS                       Case No. 3:19md2885
EARPLUG PRODUCTS
LIABILITY LITIGATION
                                            Judge M. Casey Rodgers
This Document Relates to All Cases          Magistrate Judge Hope T. Cannon


                                      ORDER

      Pending before the Court are the Motions for Admission Pro Hac Vice seeking

leave to appear as counsel for parties in matters pending before this Court associated

with the above-referenced litigation, filed by the attorneys listed on Exhibit A. The

motions demonstrate that these attorneys are members of good standing of the bar

associations of their respective states, as stated on the certificates of good standing

dated within 30 days of filing the motions; they have successfully completed the

computer-based tutorials for the local rules of this Court and CM/ECF; and they

have also paid the required admission fee. Having fully reviewed the matters, the

Court finds the requirements of the Court’s local rules satisfied. See N.D. Fla. Loc.

R. 11.1. Therefore, the motions identified on Exhibit A are GRANTED.

      DONE AND ORDERED on this 9th day of May 2023.

                                        M. Casey Rodgers
                                        M. CASEY RODGERS
                                        UNITED STATES DISTRICT JUDGE
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                                   Exhibit A

ECF No.              Counsel                             Firm
3721        Manuel Acuna-Neely          Law Offices of Thomas J. Henry
